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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


DEBORAH PROBERT,

                        Plaintiff,

v.                                                            Case Number 21-11660
                                                              Honorable David M. Lawson
MUBEA, INC.,

                        Defendant.
                                              /


                ORDER OF REFERRAL TO FACILITATIVE MEDIATION

       In the interest of facilitating prompt resolution of the above-captioned case, with consent

of all parties, and under E.D. Mich. LR 16.4, it is ORDERED that this case is hereby referred to

facilitative mediation, which shall be conducted in accordance with LR 16.4 and the procedures

set forth below.   The Court grants permission for Kathleen L. Bogas, Bogas Koncius & Croson

PC, 31700 Telegraph Road, Suite 160, Bingham Farms, MI 48025, Phone: (248) 502-5000

kbogas@kbogaslaw.com to serve as Mediator to facilitate the mediation.

       The facilitative mediation shall be completed on or before March 7, 2022, and shall take

place at the time and location designated by the Mediator after consultation with the parties.   The

Mediator is granted the discretion to schedule additional sessions as necessary to facilitate

resolution of this dispute, provided the mediation is completed by the date noted above.         All

parties or individuals with settlement authority are required to attend the facilitative mediation

sessions. All parties are directed to attend all scheduled mediation session(s) with their respective

counsel of record. Corporate parties must be represented by an agent with authority to negotiate

a binding settlement. Although in-person attendance at all mediation sessions usually is
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mandatory, during the COVID-19 emergency, the mediator may conduct mediation sessions using

Zoom or some other equivalent videoconference that permits joint sessions and caucuses, as the

mediator deems appropriate.

       It is ORDERED that not less than seven (7) calendar days before the scheduled facilitative

mediation session, each party participating must provide the Mediator with a concise

memorandum, no more than ten (10) double-spaced pages in length, setting forth the party=s

position concerning the issues to be resolved through facilitative mediation, including issues of

both liability and damages. The Mediator may circulate the parties= memoranda.

       It is further ORDERED that the Mediator shall encourage and assist the parties in reaching

a settlement of their dispute but may not compel or coerce the parties to enter into a settlement

agreement.

       It is further ORDERED that the referral of this case to mediation will not delay or modify

any time period relating to its disposition, without express order of the Court. Unless otherwise

ordered, parties are not precluded from filing pretrial motions or pursuing discovery.

       It is further ORDERED that the facilitative mediation shall be conducted in the manner

and method prescribed by the Mediator under the following general principle: facilitative

mediation, as distinguished from the hybrid process known as Acase evaluation@ under applicable

Michigan Court Rules, is a flexible, non-binding dispute resolution process in which an impartial

third party C the Mediator C facilitates negotiations among the parties to help them reach

settlement. A hallmark of facilitative mediation is its capacity to expand traditional settlement

discussions and broaden resolution options, often by going beyond the legal issues in controversy.

The Mediator, who may meet jointly or separately with the parties, serves as a facilitative mediator

only and does not decide issues or make findings of fact. See Judge Deskbook on Court ADR,
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National ADR Institute for Federal Judges, Harvard Law School, November 12-13, 1993, p.3.

The Mediator determines the length and timing of the session(s) and the order in which issues are

presented, and shall send a notice of the agreed upon time and place to all participating parties.

       It is further ORDERED that under Federal Rule of Evidence 408, all information disclosed

during the facilitative mediation session, including the conduct and demeanor of the parties and

their counsel during the proceedings, shall remain confidential, and shall not be disclosed to any

other party or to this Court, without the consent of the party about whom the information is

disclosed.   The Mediator shall not be called as a witness nor may the Mediator=s records be

subpoenaed or used as evidence.

       It is further ORDERED that within ten (10) days of completion of the final facilitative

mediation session, the Mediator will file a brief report with the Court stating only who participated

in the facilitative mediation session(s) and whether a settlement was reached.             Such post-

mediation report is not to contain any additional information which may breach the principles of

confidentiality and privacy noted herein.

       It is further ORDERED that the parties shall pay to the Mediator his or her administrative

fee and hourly rate, which shall be divided equally between the parties.

       This referral is not a substitute for trial and the above-entitled case will proceed to trial in

the event settlement is not reached.

       It is further ORDERED that the parties shall appear for a post-ADR status
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conference before this Court on March 14, 2022 at 11:00 a.m.

                                          s/ David M. Lawson
                                          DAVID M. LAWSON
                                          United States District Judge




Date:   January 26, 2022
